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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
                                                :
CHRISTOPHER MCCROBIE, individually, :
and on behalf of all others similarly situated, :
                                                :
                               Plaintiff,       :   Civil Action No. 1:15-cv-0018(LJV)(MJR)
               v.                               :
                                                :
PALISADES ACQUISITION XVI, LLC,                 :
ASTA FUNDING, INC., HOUSLANGER                  :
& ASSOCIATES, PLLC, and TODD                    :
HOUSLANGER                                      :
                                                :
                               Defendants.      :

DEFENDANTS HOUSLANGER & ASSOCIATES, PLLC AND TODD HOUSLANGER’S
      ANSWER TO THE PLAINTIFF’S SECOND AMENDED COMPLAINT

       Now comes Defendants Houslanger & Associates, PLLC (“H&A”) and Todd Houslanger

(“Houslanger,” and together with H&A, the “Houslanger Defendants”), by and through counsel,

and for its Answer to Plaintiff Christopher McCrobie’s (“Plaintiff”) Second Amended Complaint

(the “Complaint”), states as follows:

1.     The Houslanger Defendants admit that the Complaint purports to state claims under the
       Fair Debt Collection Practices Act (“FDCPA”) and New York General Business Law
       (“GBL”), but denies any violation of or liability under either statute. The remaining
       allegations of Paragraph 1 set forth legal conclusions to which no response is required.

2.     The Houslanger Defendants admit that in 2007, Centurion Capital Corporation obtained a
       default judgment against Plaintiff and that H&A, a law firm acting on behalf of Palisades
       Acquisition XVI, LLC (“Palisades”), forwarded an income execution to the Buffalo City
       Marshall’s Office, who forwarded it to Plaintiff’s employer. The Houslanger Defendants
       deny the remaining allegations set forth in Paragraph 2 of the Complaint.

                                  JURISDICTION & VENUE

3.     Paragraph 3 of Plaintiff’s Complaint sets forth legal conclusions to which no response is
       required. To the extent a response is required, the Houslanger Defendants admit that this
       Court has jurisdiction over claims arising under federal law.

4.     Paragraph 4 of Plaintiff’s Complaint sets forth legal conclusions to which no response is
       required. To the extent a response is required, the Houslanger Defendants admit that this
       Court, at its discretion, has supplemental jurisdiction over claims arising under state law
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5.     The Houslanger Defendants admit that they transact business within the Western District
       of New York. Further answering, the Houslanger Defendants are without knowledge or
       information sufficient to form a belief as to the truth of the remaining allegations set forth
       in Paragraph 5 of the Complaint, and therefore denies the same.

                                            PARTIES

6.     The Houslanger Defendants are without knowledge or information sufficient to form a
       belief as to the truth of the allegations set forth in Paragraph 6 of the Complaint, and
       therefore deny the same.

7.     The Houslanger Defendants are without knowledge or information sufficient to form a
       belief as to the truth of the allegations set forth in Paragraph 7 of the Complaint, and
       therefore deny the same.

8.     The Houslanger Defendants are without knowledge or information sufficient to form a
       belief as to the truth of the allegations set forth in Paragraph 8 of the Complaint, and
       therefore deny the same.

9.     The Houslanger Defendants are without knowledge or information sufficient to form a
       belief as to the truth of the allegations set forth in Paragraph 9 of the Complaint, and
       therefore deny the same.

10.    The Houslanger Defendants are without knowledge or information sufficient to form a
       belief as to the truth of the allegations set forth in Paragraph 10 of the Complaint, and
       therefore deny the same.

11.    The Houslanger Defendants are without knowledge or information sufficient to form a
       belief as to the truth of the allegations set forth in Paragraph 11 of the Complaint, and
       therefore deny the same.

12.    The Houslanger Defendants admits that it is a New York professional limited liability
       company and also admits that, under certain circumstances, it may fall under the
       definition of “debt collector” as that term is defined by the FDCPA.

13.    The Houslanger Defendants admit that, under certain circumstances, H&A may fall under
       the definition of “debt collector” as that term is defined in the FDCPA and that it is
       principally engaged in debt collection.

14.    The Houslanger Defendants admit that Houslanger is the owner, founder and managing
       attorney of H&A. The Houslanger Defendants also admit that, under certain
       circumstances, H&A may fall under the definition of “debt collector” as that term is

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        defined in the FDCPA. The Houslanger Defendants deny the remaining allegations set
        forth in Paragraph 14 of the Complaint, and all subparts thereof.

12.1    The Houslanger Defendants admit the second Paragraph 12 of the Complaint.

                                     FACTUAL ALLEGATIONS

13.2    The Houslanger Defendants admit the second Paragraph 13 of the Complaint and
        therefore denies the same.

14.3    The Houslanger Defendants are without knowledge or information sufficient to form a
        belief as to the truth of the allegations set forth in the second Paragraph 14 of the
        Complaint and therefore denies the same.

15.     The Houslanger Defendants admit Paragraph 15 of the Complaint.

16.     The Houslanger Defendants, upon information and belief, admit Paragraph 16 of the
        Complaint.


17.     The Houslanger Defendants, upon information and belief, admit Paragraph 17 of the
        Complaint.

18.     The Houslanger Defendants are without knowledge or information sufficient to form a
        belief as to the truth of the allegations set forth in Paragraph 18 of the Complaint, and
        therefore deny the same.

19.     The Houslanger Defendants are without knowledge or information sufficient to form a
        belief as to the truth of the allegations set forth in Paragraph 19 of the Complaint, and
        therefore deny the same.

20.     The Houslanger Defendants, upon information and belief, admit Paragraph 20 of the
        Complaint.

21.     The Houslanger Defendants are without knowledge or information sufficient to form a
        belief as to the truth of the allegation that the default judgment was never reported against


1
  The numbering in the Second Amended Complaint is incorrect. There are two paragraphs labeled number 12, this
paragraph is intended to respond to the second paragraph number 12.
2
  The numbering in the Second Amended Complaint is incorrect. There are two paragraphs labeled number 13, this
paragraph is intended to respond to the second paragraph number 13.
3
  The numbering in the Second Amended Complaint is incorrect. There are two paragraphs labeled number 14, this
paragraph is intended to respond to the second paragraph number 14.
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       Plaintiff’s credit and denies the remaining allegations set forth in Paragraph 21 of the
       Complaint.

22.    The Houslanger Defendants admit that Palisades retained the services of Houslanger and
       H&A in this matter and denies the remaining allegations set forth in Paragraph 17 of the
       Complaint, and therefore deny the same.

23.    Paragraph 23 of the Complaint sets forth a legal conclusion to which no response is
       required. To the extent a response is required, the Houslanger Defendants deny any
       violations of or liability under the CPLR 5019(c).

24.    Paragraph 24 of the Complaint sets forth a legal conclusion to which no response is
       required. To the extent a response is required, the Houslanger Defendants denies
       Plaintiff’s interpretation of the case law referenced in Paragraph 24 of the Complaint.

25.    Paragraph 25 of the Complaint sets forth a legal conclusion to which no response is
       required. To the extent a response is required, the Houslanger Defendants deny any
       violations of or liability under the CPLR 5019(c), the FDCPA, GBL or any other statute,
       rule and/or common law.

26.    Paragraph 26 of the Complaint sets forth a legal conclusion to which no response is
       required. To the extent a response is required, the Houslanger Defendants are without
       knowledge or information sufficient to form a belief as to the truth of the allegations set
       forth in Paragraph 26 of the Complaint as they do not understand the vague and
       ambiguous allegation “may be issued”.

27.    Paragraph 27 of the Complaint sets forth a legal conclusion to which no response is
       required. To the extent a response is required, the Houslanger Defendants admit the
       allegations set forth in Paragraph 27 of the Complaint.

28.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       A speaks for itself. Further answering, Paragraph 28 of the Complaint sets forth a legal
       conclusion to which no response is required. To the extent a response is required, the
       Houslanger Defendants admit that Exhibit A to the Complaint appears to be a valid
       Income Execution.

29.    Paragraph 29 of the Complaint sets forth a legal conclusion to which no response is
       required.

30.    Paragraph 30 of the Complaint sets forth a legal conclusion to which no response is
       required. To the extent a response is required, the Houslanger Defendants admit that in
       his capacity as a licensed New York State attorney, he is an officer of the court.


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31.    Paragraph 31 of the Complaint sets forth a legal conclusion to which no response is
       required. To the extent a response is required, the Houslanger Defendants denies
       violations of or liability under any common law.

32.    Paragraph 32 of the Complaint purports to set forth a legal conclusion to which no
       response is required. To the extent a response is required, the Houslanger Defendants
       deny Plaintiff’s recitation of the law and any violation of or liability thereunder.

33.    Paragraph 33 of the Complaint purports to set forth a legal conclusion to which no
       response is required. To the extent a response is required, the Houslanger Defendants
       deny Plaintiff’s recitation of the law and any violation of or liability thereunder.

34.    Paragraph 34 of the Complaint purports to set forth a legal conclusion to which no
       response is required. To the extent a response is required, the Houslanger Defendants
       deny Plaintiff’s recitation of the law and any violation of or liability thereunder.

35.    Paragraph 35 of the Complaint purports to set forth a legal conclusion to which no
       response is required. To the extent a response is required, the Houslanger Defendants
       deny Plaintiff’s recitation of the law and any violation of or liability thereunder.

36.    Paragraph 36 of the Complaint purports to set forth a legal conclusion to which no
       response is required. To the extent a response is required, the Houslanger Defendants
       deny Plaintiff’s recitation of the law and any violation of or liability thereunder.

37.    Paragraph 37 of the Complaint purports to set forth a legal conclusion to which no
       response is required. To the extent a response is required, the Houslanger Defendants
       deny Plaintiff’s recitation of the law and any violation of or liability thereunder.

38.    Paragraph 38 of the Complaint purports to set forth a legal conclusion to which no
       response is required. To the extent a response is required, the Houslanger Defendants
       deny Plaintiff’s recitation of the law and any violation of or liability thereunder.

39.    Paragraph 39 of the Complaint purports to set forth a legal conclusion to which no
       response is required. To the extent a response is required, the Houslanger Defendants
       deny Plaintiff’s recitation of the law and any violation of or liability thereunder.

40.    Paragraph 40 of the Complaint purports to set forth a legal conclusion to which no
       response is required. To the extent a response is required, the Houslanger Defendants
       deny Plaintiff’s recitation of the law and any violation of or liability thereunder.

41.    Paragraph 41 of the Complaint purports to set forth a legal conclusion to which no
       response is required. To the extent a response is required, the Houslanger Defendants
       deny Plaintiff’s recitation of the law and any violation of or liability thereunder.
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42.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       A speaks for itself. Further answering, the Houslanger Defendants admit that they signed
       an income execution, which was eventually sent to Plaintiff’s employer.

43.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       A speaks for itself.

44.    The Houslanger Defendants admit the allegations set forth in Paragraph 44 of the
       Complaint.

45.    Paragraph 45 of the Complaint purports to set forth a legal conclusion to which no
       response is required. To the extent a response is required, the Houslanger Defendants
       deny Plaintiff’s recitation of the law and any violation of or liability thereunder.

46.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       A speaks for itself.

47.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       A speaks for itself.

48.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       A speaks for itself.

49.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       A speaks for itself.

50.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       A speaks for itself. Further answering, Paragraph 50 of the Complaint purports to set
       forth a legal conclusion to which no response is required. To the extent a response is
       required, the Houslanger Defendants deny Plaintiff’s recitation of the law and any
       violation of or liability thereunder.

51.    The Houslanger Defendants, upon information and belief, deny the allegations set forth in
       Paragraph 51 of the Complaint.

52.    Houslanger Defendants deny the allegations set forth in Paragraph 52 of the Complaint.

53.    The Houslanger Defendants are without knowledge or information sufficient to form a
       belief as to whether the assignor or assignee notified Plaintiff of the assignment of the
       debt, but denies that the assignee is required to notify Plaintiff of the assignment..


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54.    The Houslanger Defendants deny the allegations set forth in Paragraph 54 of the
       Complaint, and therefore deny the same.

55.    The Houslanger Defendants deny the allegations set forth in Paragraph 55 of the
       Complaint.

56.    The Houslanger Defendants deny the allegations set forth in Paragraph 56 of the
       Complaint.

57.    The Houslanger Defendants deny the allegations set forth in Paragraph 57 of the
       Complaint.

58.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       A speaks for itself.

59.    The Houslanger Defendants deny the allegations set forth in Paragraph 59 of the
       Complaint.

60.    Paragraph 60 of the Complaint purports to sets forth a legal conclusion to which no
       response is required. To the extent a response is required, the Houslanger Defendants
       deny the allegations set forth in Paragraph 60 of the Complaint.

61.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       B speaks for itself.

62.    The Houslanger Defendants state that the documents attached to the Complaint as
       Exhibits B and C speak for themselves.

63.    The Houslanger Defendants deny the allegations set forth in Paragraph 63 of the
       Complaint.

64.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       B speaks for itself.

65.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       B speaks for itself.

66.    The Houslanger Defendants state that the documents attached to the Complaint as
       Exhibits D and E speak for themselves. Further answering, the Houslanger Defendants
       are without knowledge or information sufficient to form a belief as to the truth of the
       remaining allegations set forth in Paragraph 66 of the Complaint.


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67.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       F speaks for itself. Further answering, the Houslanger Defendants are without knowledge
       or information sufficient to form a belief as to the truth of the remaining allegations set
       forth in Paragraph 67 of the Complaint, and therefore deny the same.

68.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       D speaks for itself. Further answering, the Houslanger Defendants are without
       knowledge or information sufficient to form a belief as to the truth of the remaining
       allegations set forth in Paragraph 68 of the Complaint, and therefore deny the same.

69.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       F speaks for itself. Further answering, the Houslanger Defendants are without knowledge
       or information sufficient to form a belief as to the truth of the remaining allegations set
       forth in Paragraph 69 of the Complaint.

70.    The Houslanger Defendants are without knowledge or information sufficient to form a
       belief as to the truth of the allegations set forth in Paragraph 70 of the Complaint, and
       therefore deny the same.

71.    The Houslanger Defendants are without knowledge or information sufficient to form a
       belief as to the truth of the allegations set forth in Paragraph 71 of the Complaint, and
       therefore deny the same.

72.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       G speaks for itself. Further answering, the Houslanger Defendants are without
       knowledge or information sufficient to form a belief as to the truth of the remaining
       allegations set forth in Paragraph 72 of the Complaint.

73.    The Houslanger Defendants are without knowledge or information sufficient to form a
       belief as to the truth of the allegations set forth in Paragraph 73 of the Complaint, and
       therefore deny the same.

74.    The Houslanger Defendants state that the document attached to the Complaint as Exhibit
       H speaks for itself. Further answering, the Houslanger Defendants are without
       knowledge or information sufficient to form a belief as to the truth of the remaining
       allegations set forth in Paragraph 74 of the Complaint.

75.    The Houslanger Defendants deny the allegations set forth in Paragraph 75 of the
       Complaint and all subparts thereto.




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                             CLASS ACTION ALLEGATIONS

76.    The Houslanger Defendants admit that the Complaint attempts to allege class-action
       claims. The remaining allegations of Paragraph 76 set forth legal conclusions to which
       no response is required. To the extent a further response is required, the Houslanger
       Defendants deny that Plaintiff meets the requirements for class certification.

77.    The Houslanger Defendants admit that the Complaint attempts to allege class-action
       claims. To the extent a further response is required, the Houslanger Defendants deny that
       Plaintiff meets the requirements for class certification.

78.    The Houslanger Defendants admit that the Complaint attempts to allege class-action
       claims. To the extent a further response is required, the Houslanger Defendants deny that
       Plaintiff meets the requirements for class certification.

                                        COUNT ONE

79.    All allegations re-alleged and re-incorporated by reference in Paragraph 79 of the
       Complaint are admitted and denied in the same manner and to the same extent as said
       allegations are otherwise admitted and denied herein.

80.    The Houslanger Defendants admit that the Complaint attempts to allege class-action
       claims. The remaining allegations of Paragraph 80 set forth legal conclusions to which
       no response is required. To the extent a further response is required, the Houslanger
       Defendants deny that Plaintiff meets the requirements for class certification.

81.    Paragraph 81 of the Complaint sets forth legal conclusions to which no response is
       required. To the extent a response is required, the Houslanger Defendants deny that they
       violated and/or are liable under the FDCPA.

82.    Paragraph 82 of the Complaint sets forth legal conclusions to which no response is
       required. To the extent a response is required, the Houslanger Defendants deny that they
       violated and/or are liable under the FDCPA.

83.    Paragraph 83 of the Complaint sets forth legal conclusions to which no response is
       required. To the extent a response is required, the Houslanger Defendants deny that they
       violated and/or are liable under the FDCPA.

84.    Paragraph 84 of the Complaint sets forth legal conclusions to which no response is
       required. To the extent a response is required, the Houslanger Defendants deny that they
       violated and/or are liable under the FDCPA.

85.    Paragraph 85 of the Complaint sets forth legal conclusions to which no response is
       required. To the extent a response is required, the Houslanger Defendants deny that they
       violated and/or are liable under the FDCPA.

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86.    Paragraph 86 of the Complaint sets forth legal conclusions to which no response is
       required. To the extent a response is required, the Houslanger Defendants deny that they
       violated and/or are liable under the FDCPA.

87.    Paragraph 87 of the Complaint sets forth legal conclusions to which no response is
       required. To the extent a response is required, the Houslanger Defendants deny that they
       violated and/or are liable under the FDCPA.

88.    Paragraph 88 of the Complaint sets forth legal conclusions to which no response is
       required. To the extent a response is required, the Houslanger Defendants deny that they
       violated and/or are liable under the FDCPA.

89.    Paragraph 89 of the Complaint sets forth legal conclusions to which no response is
       required. To the extent a response is required, the Houslanger Defendants deny that they
       violated and/or are liable under the FDCPA.

90.    The Houslanger Defendants deny the allegations set forth in Paragraph 90 of the
       Complaint.

91.    The Houslanger Defendants deny the allegations set forth in Paragraph 91 of the
       Complaint.

92.    The Houslanger Defendants deny the allegations set forth in Paragraph 92 of the
       Complaint.

93.    To the extent the allegations are applicable to the Houslanger Defendants, the Houslanger
       Defendants deny the allegations set forth in Paragraph 93 of the Complaint.

94.    To the extent the allegations are applicable to the Houslanger Defendants, the Houslanger
       Defendants deny the allegations set forth in Paragraph 94 of the Complaint.

95.    To the extent the allegations are applicable to the Houslanger Defendants, the Houslanger
       Defendants deny the allegations set forth in Paragraph 95 of the Complaint.

96.    To the extent the allegations are applicable to the Houslanger Defendants, the Houslanger
       Defendants deny the allegations set forth in Paragraph 95 of the Complaint.

97.    The Houslanger Defendants deny the allegations set forth in Paragraph 97 of the
       Complaint.

98.    The Houslanger Defendants deny the allegations set forth in Paragraph 98 of the
       Complaint.




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                                         COUNT TWO

99.     All allegations re-alleged and re-incorporated by reference in Paragraph 99 of the
        Complaint are admitted and denied in the same manner and to the same extent as said
        allegations are otherwise admitted and denied herein.

100.    The Houslanger Defendants admit that the Complaint attempts to allege class-action
        claims. The remaining allegations of Paragraph 100 set forth legal conclusions to which
        no response is required. To the extent a further response is required, the Houslanger
        Defendants deny that Plaintiff meets the requirements for class certification.

101.    The Houslanger Defendants deny the allegations set forth in Paragraph 101 of the
        Complaint.

102.    The Houslanger Defendants deny the allegations set forth in Paragraph 102 of the
        Complaint.

103.    The Houslanger Defendants deny the allegations set forth in Paragraph 103 of the
        Complaint.

104.    The Houslanger Defendants deny the allegations set forth in Paragraph 104 of the
        Complaint.

105.    The Houslanger Defendants deny the allegations set forth in Paragraph 105 of the
        Complaint.

106.    The Houslanger Defendants deny the allegations set forth in Paragraph 106 of the
        Complaint.

107.    The Houslanger Defendants deny the allegations set forth in Paragraph 107 of the
        Complaint.

108.    The Houslanger Defendants deny the allegations set forth in Paragraph 108 of the
        Complaint.

109.    The Houslanger Defendants deny the allegations set forth in Paragraph 109 of the
        Complaint.

110.    The Houslanger Defendants deny the allegations set forth in Paragraph 110 of the
        Complaint.

111.    To the extent the allegations are applicable to the Houslanger Defendants, the Houslanger
        Defendants deny the allegations set forth in Paragraph 111 of the Complaint.

112.    To the extent the allegations are applicable to the Houslanger Defendants, the Houslanger
        Defendants deny the allegations set forth in Paragraph 112 of the Complaint.
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113.    To the extent the allegations are applicable to the Houslanger Defendants, the Houslanger
        Defendants deny the allegations set forth in Paragraph 113 of the Complaint.

114.    To the extent the allegations are applicable to the Houslanger Defendants, the Houslanger
        Defendants deny the allegations set forth in Paragraph 114 of the Complaint.

115.    The Houslanger Defendants deny the allegations set forth in Paragraph 115 of the
        Complaint.

116.    The Houslanger Defendants deny the allegations set forth in Paragraph 116 of the
        Complaint.

                                  AFFIRMATIVE DEFENSES

1.      Plaintiff has failed to state a claim upon which relief can be granted.

2.      Plaintiff lacks standing to bring one or more of the claims set forth in the Complaint.

3.      Plaintiff may have failed to join all parties proper, necessary and indispensable for a just
        adjudication of this matter.

4.      The Houslanger Defendants did conduct a meaningful review of the file before taking
        steps to enforce the judgment.

5.      Any violation by the Houslanger Defendants, which is specifically denied, was not
        intentional and resulted from a bona fide error notwithstanding the maintenance of
        procedures reasonably adapted to avoid any such error.

6.      The Houslanger Defendants affirmatively allege that they acted in good faith at all times
        and in good faith reliance on the information provided by the creditor of the account.

7.      The Houslanger Defendants affirmatively allege that they did not make any false or
        misleading representations to Plaintiff or anyone else relating to this matter.

8.      The Houslanger Defendants affirmatively allege that Plaintiff did not rely on any alleged
        false or misleading representations made by the Houslanger Defendants, which are
        specifically denied.

9.      The Houslanger Defendants affirmatively allege that any alleged false or misleading
        representations, which are specifically denied, were not material.

10.     The Houslanger Defendants affirmatively allege that if they performed any wrongful acts,
        which are specifically denied, such acts were not performed knowingly, purposely, with
        malicious purpose, in bad faith, intentionally, recklessly, willfully, or wantonly.



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11.          Plaintiff has not suffered any actual or compensable damages as a result of the
             Houslanger Defendants’ actions or inactions.

12.          Plaintiff has failed to mitigate his damages, if any.

13.          If Plaintiff was injured or damaged, such injury or damage was caused by the sole actions
             of Plaintiff and/or third-parties over whom the Houslanger Defendants have no control,
             right to control, responsibility, or reason to anticipate.

14.          The Houslanger Defendants respectfully reserves the right to assert any additional
             affirmative defenses that may be revealed during the course of these proceedings.

15.          The Houslanger Defendants affirmatively alleges that claims alleged in Plaintiff’s
             Complaint may be barred by the doctrines of waiver, estoppel, laches, and/or unclean
             hands.

             WHEREFORE, the Houslanger Defendants respectfully request that this Honorable

Court dismiss the Complaint at Plaintiff’s cost, and that the Houslanger Defendants be awarded

their reasonable attorneys’ fees and costs as provided for under applicable law.

Dated: New York, New York
       September 23, 2019
                                                    Respectfully submitted,

                                                    RIVKIN RADLER LLP
                                                    Attorneys for Defendants Houslanger & Associates,
                                                    PLLC and Todd Houslanger, Esq.




                                            By:     ______________________________
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